            Case 1:17-cr-00182-RDM Document 58 Filed 11/21/18 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                              Criminal No. 17-cr-182-RDM
       v.
                                              MOTION TO CONTINUE
GEORGE PAPADOPOULOS,
                                              SURRENDER DATE
                      Defendant.



       On behalf of George Papadopoulos, we submit this motion respectfully requesting that the

Court stay the deadline of November 26, 2018 for Mr. Papadopoulos to surrender to the institution

designated by the Bureau of Prisons, pending the outcome of this Court’s decision on his motion

for bail pending the appeal, filed on November 16, 2018 (Doc. 57), and if this Court denies his

motion for bail pending appeal, to stay the surrender date pending the outcome of Mr.

Papadopoulos’s motion for bail pending appeal to the United States Court of Appeals for the

District of Columbia Circuit. If Mr. Papadopoulos is required to surrender during the pendency of

his motion for bail pending appeal, the purpose of his motion would be frustrated.
        Case 1:17-cr-00182-RDM Document 58 Filed 11/21/18 Page 2 of 3



Dated: November 16, 2018
       Washington, D.C.
                                   Respectfully submitted,


                                   By:

                                   Christopher N. LaVigne
                                   Caroline J. Polisi
                                   Pierce Bainbridge Beck Price & Hecht LLP
                                   20 West 23rd Street, 5th Floor
                                   New York, NY 10010
                                   (212) 484-9866
                                   clavigne@piercebainbridge.com
                                   cpolisi@piercebainbrige.com

                                   John M. Pierce
                                   Pierce Bainbridge Beck Price & Hecht LLP
                                   600 Wilshire Boulevard, Suite 500
                                   Los Angeles, CA 90017
                                   (213) 262-9333
                                   jpierce@piercebainbridge.com

                                   Michael P. Hatley
                                   DC Bar # 1027701
                                   Pierce Bainbridge Beck Price & Hecht LLP
                                   One Thomas Circle, NW, Suite 700
                                   Washington, DC 20005
                                   (213) 262-9333, ext. 222
                                   mhatley@piercebainbridge.com

                                   Attorneys for Defendant George Papadopoulos




                                      2
          Case 1:17-cr-00182-RDM Document 58 Filed 11/21/18 Page 3 of 3



                       			
                       		
	
                                     
    
                                              1+-+.#,/
%1
        5                                   
                                              
                          
                                              
                       '('.&#.3            

                                                   

        *'/413*#5+.)%/.2+&'1'&'/1)'#0#&/0/4,/272-/3+/.3/23#6*+22411'.&'1&#3'

0'.&+.)*+2-/3+/.$'(/1'3*+2/413#.&+(.'%'22#16$'(/1'3*' .+3'&3#3'2/413/(

00'#,2(/13*'+231+%3/(/,4-$+#+1%4+3(/1#23#6/(*+22411'.&'1&#3'3/3*'+.23+343+/.

&'2+).#3'&$63*''&'1#,41'#4/(1+2/.20'.&+.)#&'%+2+/./.*+2-/3+/.(/1$#+,0'.&+.)

3*'/43%/-'/(3*'#00'#,+.
	
/	+.3*' .+3'&3#3'2

/413/(00'#,2(/13*'+231+%3/(/,4-$+#+1%4+3+3+2*'1'$6

        3*#33*'&'('.&#.372-/3+/.+2+3+2(413*'1

        3*#33*'&'('.&#.3722411'.&'1&#3'3/3*''&'1#,41'#4/(1+2/.2+2

%/.3+.4'&4.3+,(413*'1/1&'1/(3*'/413


#3'&/5'-$'1"""                         """""""""""""""""""""""
      !#2*+.)3/.                            /.#.&/,0*/22
                                                 .+3'&3#3'2+231+%34&)'
                                               
